                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:15-CR-00121-RJC-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )                    ORDER
 v.                                               )
                                                  )
 ALEXIS VILLALTA MORALES,                         )
                                                  )
                   Defendant.                     )



        THIS MATTER is before the Court on Defendant’s “Motion to Employ Litigation

Assistance” (document #432) filed September 21, 2015, seeking the appointment a law student to

assist counsel in this matter.

        Pursuant to 18 U.S.C. §3006(A)(e), the Court shall authorize counsel to obtain

investigative, expert, or other services whenever it is determined that such services are necessary

for adequate representation and that the person is financially unable to obtain them.

        For the reasons set forth in the Motion, the Court finds such services are necessary for

adequate representation and that Defendant is financially unable to obtain them. Therefore, the

Motion is GRANTED.

        SO ORDERED.

                                         Signed: September 21, 2015




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